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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                    )              CASE NO. 8:05CR242
                                             )
              Plaintiff,                     )
                                             )
              vs.                            )              TENTATIVE FINDINGS
                                             )
ALBERT COSIMO,                               )
                                             )
              Defendant.                     )

       The Court has received the Presentence Investigation Report (“PSR”) and the

parties’ objections thereto (Filing Nos. 96, 97). See Order on Sentencing Schedule, ¶ 6.

The Court advises the parties that these Tentative Findings are issued with the

understanding that, pursuant to United States v. Booker, 543 U.S. 220 (2005), the

sentencing guidelines are advisory.

       The government objects to the drug quantity and the base offense level reflected

in ¶ 22. The Defendant also objects to the drug quantity and base offense level appearing

in ¶¶ 16 and 22. The plea agreement provides that the most readily provable amount of

a mixture or substance containing methamphetamine is at least 50 but less than 200

grams, resulting in base offense level 26. The PSR, however, states that the Defendant

is responsible for 79.1 grams of actual methamphetamine. The offense involved Marisol

Perez-Fernandez, who has already been sentenced in 8:05CR242, on the basis of the drug

quantity agreed upon in Defendant Albert Cosimo’s plea agreement. (8:05CR242, Filing

No. 67.) The Court’s tentative findings are that the parties’ objections are granted.

       IT IS ORDERED:

       1.     The government’s Objections to the Presentence Investigation Report (Filing

No. 96) are granted;
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       2.     The Defendant’s Objections to the Presentence Investigation Report (Filing

No. 97) are granted;

       3.     Otherwise the Court’s tentative findings are that the Presentence

Investigation Report is correct in all respects;

       4.     If any party wishes to challenge these tentative findings, the party shall

immediately file in the court file and serve upon opposing counsel and the Court a motion

challenging these tentative findings, supported by (a) such evidentiary materials as are

required (giving due regard to the requirements of the local rules of practice respecting the

submission of evidentiary materials), (b) a brief as to the law, and (c) if an evidentiary

hearing is requested, a statement describing why an evidentiary hearing is necessary and

an estimated length of time for the hearing;

       5.     Absent submission of the information required by paragraph 3 of this Order,

my tentative findings may become final; and

       6.     Unless otherwise ordered, any motion challenging these tentative findings

shall be resolved at sentencing.

       DATED this 10th day of April, 2006.

                                           BY THE COURT:

                                           s/Laurie Smith Camp
                                           United States District Judge




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